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 January 6, 2025,



 The Honorable David J. Hale

 United States District Judge for the Western District of Kentucky

 601 W. Broadway

 Louisville, KY 40202



 My name is Barbara Berman and I am a retired certified physician assistant and am head of a
 non profit and on the board of 2 others. I am also an Olmsted park steward. I have known
 Joshua White for 11 or 12 years and have become extremely good friends very soon after we
 met. I am aware of the case against him.



 Josh headed up the neighborhood tree planting project for 7 or so years and mentored several
 other neighborhoods to do the same. That is how we met. He found a way through applying for
 grants to get money to buy trees and then organized volunteers to plant them. I was assistant
 manager of that program for 6 of those years and then led it for 5 more years. We planted 1260
 trees in our small neighborhood of 1500 homes. I am so grateful that my older neighborhood
 has new trees. He also headed up a program to give each Jefferson County freshman student a
 tree to plant at their home. Joshua is a bioengineer with a master’s degree and is incredibly
 smart (almost perfect ACT scores) and hard working. He is quite unusual as he is both the
 dreamer and the doer. He always works harder than anyone else. We also served on the
 neighborhood board together for a few years when he was VP. He also has headed up a
 citywide graffiti abatement program for 5 years.



 We had many high school students volunteer for the tree project. Josh was always strict about
 the “two deep rule” where an adult could never be alone with an underage person; there always
 had to be another person with them. Josh was also extremely careful with tax payer money.
 Other neighborhoods pocketed left over $ but we never did.
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 It is really sad that Josh has not been able to continue the neighborhood tree project and other
 volunteer work. Allowing him to stay in the community and fully rejoin it as soon as possible is in
 the best interest of everyone.



 I thank the Court for its time and am available if there are any questions.



 Sincerely,

 Barbara Berman PA-C



 Louisville, KY 402
